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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNIVERSITY OF SOUTH FLORIDA
 RESEARCH FOUNDATION INC.,

       Plaintiff,

 v.                                                  Case No: 8:16-cv-3106-MSS-TGW

 AGFA HEALTHCARE CORPORATION, INC.,

       Defendant.
                                                 /


                     ORDER OF DISMISSAL WITHOUT PREJUDICE

        THIS CAUSE comes before the Court upon consideration of Plaintiff’s Response

 to Venue Order, requesting that the Court dismiss this case without prejudice. (Dkt. 72)

 Accordingly, it is hereby

        ORDERED that this case is DISMISSED without prejudice. The Clerk is directed

 to terminate any pending motions and CLOSE this case.

        DONE AND ORDERED in Tampa, Florida, this 29th day of January, 2018.




 Copies to:    All Counsel of Record
               All Pro Se Parties
